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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION



 ROSANA MODUGNO,

        Plaintiff,

 v.                                               CASE NO.: 8:17-cv-02762-EAK-MAP


 FINANCIAL BUSINESS AND CONSUMER
 SOLUTIONS, INC.,

        Defendant.

_____________________________________________________________________________

                            NOTICE OF PENDING SETTLEMENT


       Plaintiff, ROSANA MODUGNO, by and through her undersigned counsel, hereby submits

this Notice of Settlement and states that Plaintiff, ROSANA MODUGNO, and Defendant,

FINANCIAL BUSINESS AND CONSUMER SOLUTIONS, INC., have reached a settlement

with regard to this case and are presently drafting, finalizing, and executing the settlement and

dismissal documents. Upon execution of same, the parties will file the appropriate dismissal

documents with the Court.



                                              /s/Amanda J. Allen, Esq.
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on June 6, 2018, the foregoing was served using the CM/ECF

system, which will provide electronic notice of filing to all counsel of record.



                                                  /s/Amanda J. Allen, Esq.
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